                                                             United States Bankruptcy Court
                                                                     District of Arizona
 In re      Mark J Swartz                                                                          Case No.   2:18-bk-07157-DPC
                                                                               Debtor(s)           Chapter    7




                                              DECLARATION OF EXEMPTION FROM MEANS TEST
NOTE: In joint cases that involve non-consumer debts, this determination must be made for each debtor,
separately, based upon each debtor's personal liability for non-consumer debts.

                         For Individual Debtor:

            DEBTOR declares under penalty of perjury that he/she is not an individual with primarily consumer
            debts as that term is defined by Section 101(8) of the Bankruptcy Code. For purposes of this
            determination, "primarily" means more than fifty percent of the DEBTOR'S total debt.

                         For Joint Debtors:

            Each of the undersigned DEBTORS declares under penalty of perjury that he/she is not an individual
            with primarily consumer debts as that term is defined by Section 101(8) of the Bankruptcy Code. For
            purposes of this determination, "primarily" means more than fifty percent of each individual DEBTOR'S
            total debt.


 Date June 19, 2018                                                  Signature /s/ Mark J Swartz
                                                                               Mark J Swartz
                                                                               Debtor




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
